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LOT/LAND PURCHASE AND SALE AGREEMENT

1. Purchase and Sale. For and in consideration of the mutual covenants herein and other good and valuable consideration,
the receipt and sufficiency of which is hereby acknowledged, the undersigned buyer
Corey Lea (“Buyer”) agrees to buy and
the undersigned seller Brown Darrell R Irrevocable Family Trust Attn: Trustee's (“Seller”)
agrees to sell all that tract or parcel of land, with such improvements as are located thereon, described as follows:
All that tract of land known as:3557 Snail Shell Cave Rd

(Address) Rockvale (City), Tennessee, 37153 (Zip), as
recorded in Rutherford County, TN County Register of Deeds Office,
1183 deed book(s),3043 page(s), and/or instrument number and as further described

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together with all fixtures, landscaping, improvements, and appurtenances, all being hereinafter collectively referred to as
the “Property.”

(] This box must be checked to be part of this Agreement. The full and legal description of said Property is as described

in the attached “Legal Description Exhibit.”
A. LEASED ITEMS. Leased items that remain with the Property (e.g. billboards, irrigation systems, fuel tank, etc.)
. Buyer shall assume any and all lease payments as of Closing. If leases are not

assumable, the balance shall be paid in full by Seller at or before Closing.

1 Buyer does not wish to assume a leased item. (THIS BOX MUST BE CHECKED IN ORDER FOR

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20 IT TO BE A PART OF THIS AGREEMENT.)

21 Buyer does not wish to assume Seller's current lease of ; therefore,

22 Seller shall have said lease cancelled and leased items removed from Property prior to Closing.

23 B. FUEL. Fuel, if any, shall be adjusted and charged to Buyer and credited to Seller at Closing at current market prices.

24 2. Purchase Price, Method of Payment and Closing Expenses. Buyer warrants that, except as may be otherwise

25 provided herein, Buyer shall at Closing have sufficient cash to complete the purchase of the Property under the terms of

26 this Lot/Land Purchase and Sale Agreement (hereinafter “Purchase and Sale Agreement” or “Agreement”). The

27 purchase price to be paid is: $3,750,000 '

28 three million seven hundred fifty thousand U.S. Dollars,

29 (“Purchase Price”) which shall be disbursed to Seller or Seller’s Closing Agency by one of the following methods:

30 i. a Federal Reserve Bank wire transfer;

31 ii. a Cashier’s Check issued by a financial institution as defined in 12 CFR § 229.2(); OR

32 iii. other such form as is approved in writing by Seller.

33 This price is based (Select one. The sections not checked are not a part of this Agreement.):

34 YW for entire Property as a tract, and not by the acre OR

35 [] per acre with the Purchase Price to be determined by the actual amount of acreage of the Property, $ per

36 acre based on a current or mutually acceptable survey OR

37 (1 for entire Property as a tract but with the Purchase Price to be adjusted upward or downward at $ per

38 acre in the event the actual amount of acreage of the Property based on a current or mutually acceptable survey should

39 vary more or less than acre(s) from the estimated acreage.

40 A. Appraisal (Select either 1 or 2 below. The sections not checked are not a part of this Agreement).

4 C] 1. This Agreement IS NOT contingent upon the appraised value either equaling or exceeding the

42 agreed upon Purchase Price.

43 { 2. This Agreement IS CONTINGENT upon the appraised value either equaling or exceeding the agreed

44 upon Purchase Price If appraised value is equal to or exceeds the Purchase Price, this contingency is satisfied.

45 In consideration of Buyer having conducted an appraisal, the sufficiency of such consideration being hereby
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46 acknowledged, if the appraised value of the Property does not equal or exceed the Purchase Price, Buyer

47 shall promptly notify the Seller via the Notification Form or equivalent written notice. Buyer shall then have

48 3 days to either:

49 1. waive the appraisal contingency via the Notification Form or equivalent written notice

50 OR

51 2. terminate the Agreement by giving notice to Seller via the Notification Form or equivalent written

52 notice. Upon timely termination, Buyer is entitled to a refund of the Earnest Money/Trust Money.

53 In the event Buyer fails to either waive the appraisal contingency or terminate the Agreement as set forth

54 above, this contingency is deemed satisfied. Thereafter, failure to appraise shall not be used as the basis for

55 loan denial or termination of Agreement. Seller shall have the right to request any supporting documentation

56 showing appraised value did not equal or exceed the agreed upon Purchase Price.

57 B. Closing Expenses.

58 1. Seller Expenses. Seller shall pay all existing loans affecting the Property, including all penalties, release

59 preparation costs, and applicable recording costs; any accrued and/or outstanding association dues or fees; fee (if

60 any) to obtain lien payoff/estoppel letters/statement of accounts from any and all associations, property

61 management companies, mortgage holders or other liens affecting the Property; Seller’s Closing fee, document

62 preparation fee and/or attomey’s fees; fee for preparation of deed; notary fee on deed; and financial institution

63 (Bank, Credit Union, etc.) wire transfer fee or commercial courier service fee related to the disbursement of any

64 lien payoff(s). Seller additionally agrees to permit any withholdings and/or to pay any additional sum due as is

65 required under the Foreign Investment in Real Property Tax Act. Failure to do so shall constitute a default by

66 Seller.

67 In the event Seller is subject to Tax Withholding as required by the Foreign Investment in Real Property

68 Tax Act, (hereinafter “FIRPTA”), Seller additionally agrees that such Tax Withholding must be collected

69 from Seller by Buyer’s Closing Agent at the time of Closing. In the event Seller is not subject to FIRPTA,

70 Seller shall be required as a condition of Closing to sign appropriate affidavits certifying that Seller is not subject

71 to FIRPTA. It is Seller’s responsibility to seek independent tax advice or counsel prior to the Closing Date

72 regarding such tax matters.

73 2. Buyer Expenses. Buyer shall pay all transfer taxes and recording fees on deed of conveyance and deed of trust;

74 Buyer’s Closing fee, document preparation fee and/or attorney’s fees; preparation of note, deed of trust, and other

75 loan documents; mortgage loan inspection or boundary line survey; credit report; required premiums for private

76 mortgage, hazard and flood insurance; required reserved deposits for insurance premiums and taxes; prepaid

77 interest; re-inspection fees pursuant to appraisal; and any costs incident to obtaining and closing a loan, including

78 but not limited to: appraisal, origination, discount points, application, commitment, underwriting, document

79 review, courier, assignment, photo, tax service notary fees, and any wire fee or other charge imposed for the

80 disbursement of the Seller’s proceeds according to the terms of this Agreement.

81 3. Title Expenses. Cost of title search, mortgagee’s policy and owner’s policy (rates to be as filed with the

82 Tennessee Department of Commerce and Insurance) shall be paid as follows:

83 buyer

84 Simultaneous issue rates shall apply.

85 Not all of the above items (Seller Expenses, Buyer Expenses and Title Expenses) are applicable to every

86 Transaction and may be modified as follows:

87 Infa

88

89 osing Agency for Buyer & Contact Information: trinity Title, 401 W Main St Ste 200 Murfreesboro, TN 37130

90 Aimee Cain 615-440-7159

91 Closing Agency for Seller & Contact Information: |

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93 C. Financial Contingency — Loan(s) To Be Obtained: This Agreement is conditioned upon Buyer’s ability to obtain

94 a loan(s) in the principal amount up to 100 % of the Purchase Price listed above to be secured by a deed of

95 trust on the Property. “Ability to obtain” as used herein means that Buyer is qualified to receive the loan described

96 herein based upon Lender’s customary and standard underwriting criteria. _In consideration of Buyer, having acted in

97 good faith and in accordance with the terms below, being unable to obtain financing by the Closing Date, the

98 sufficiency of such consideration being hereby acknowledged, Buyer may terminate this Agreement by providing
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99 written notice via the Notification form or equivalent written notice. Seller shall have the right to request any
{00 supporting documentation regarding loan denial. Upon termination, Buyer is entitled to a refund of the Earnest
101 Money/Trust Money. Lender is defined herein as the financial institution funding the loan.

102 The loan shall be of the type selected below (Select the appropriate boxes. Unselected items shall not be part of
403 this Agreement):
104 (1 Conventional Loan [WZ Rural Development/USDA
105 C) Other
106 Buyer may apply for a loan with different terms and conditions and also Close the transaction provided all other terms
107 and conditions of this Agreement are fulfilled and the new loan does not increase any costs charged to Seller. Buyer
108 shall be obligated to Close this transaction if Buyer has the ability to obtain a loan with terms as described herein
109 and/or any other loan for which Buyer has applied and been approved.
110 Loan Obligations: The Buyer agrees and/or certifies as follows:
111 (1) Within three (3) days after the Binding Agreement Date, Buyer shall make application for the loan and shall
112 pay for credit report. Buyer shall immediately notify Seller or Seller’s representative of having applied for
113 the loan and provide Lender’s name and contact information, and that Buyer has instructed Lender to order
114 credit report. Such certifications shall be made via the Notification form or equivalent written notice;
415 (2) Within fourteen (14) days after the Binding Agreement Date, Buyer shall warrant and represent to Seller via
116 the Notification form or equivalent written notice that:
117 a. Buyer has notified Lender of an Intent to Proceed and has available funds to Close per the signed
118 Loan Estimate; and
119 b. Buyer has requested that the appraisal be ordered and affirms that the appraisal fee has been paid.
120 (3) Buyer shall pursue qualification for and approval of the loan diligently and in good faith;
121 (4) Buyer shall continually and immediately provide requested documentation to Lender and/or loan originator;
122 (5) Unless otherwise stated in this Agreement, Buyer represents that this loan is not contingent upon the lease or
123 sale of any other real property and the same shall not be used as the basis for loan denial; and
124 (6) Buyer shall not intentionally make any material changes in Buyer’s financial condition which would
125 adversely affect Buyer’s ability to obtain the Primary Loan or any other loan referenced herein.
126 Should Buyer fail to timely comply with 2.C.(1) and/or 2.C.(2) above and provide notice as required, Seller may make
127 written demand for compliance via the Notification form or equivalent written notice. If Buyer does not furnish Seller
428 the requested documentation within two (2) days after such demand for compliance, Buyer shall be considered in
129 default and Seller’s obligation to sell is terminated.
130 THIS BOX MUST BE CHECKED IN ORDER FOR IT TO BE A PART OF THIS AGREEMENT.
131 tO Financing Contingency Waived (e.g. “All Cash”, etc.):
132 Buyer’s obligation to Close shall not be subject to any financial contingency. Buyer reserves the right to obtain a
133 loan. Buyer shall furnish proof of available funds to close in the following manner:
134 (e.g. bank statement, Lender’s commitment letter) within five (5) days after Binding Agreement Date. Should Buyer
135 fail to do so, Seller may make written demand for compliance via the Notification form or equivalent written notice.
136 If Buyer does not furnish Seller with the requested notice within two (2) days after such demand for compliance,
137 Buyer shall be considered in default and Seller’s obligation to sell is terminated. Failure to Close due to lack of funds
138 shall be considered default by Buyer.
139 In the event that this Agreement is contingent upon an appraisal, Buyer must order the appraisal and provide Seller
140 with the name and telephone number of the appraisal company and proof that appraisal was ordered within five (5)
141 days of the Binding Agreement Date. Should Buyer fail to do so, Seller may make written demand for compliance
142 via the Notification form or equivalent written notice. If Buyer does not furnish Seller with the requested notice within
143 two (2) days after such demand for compliance, Buyer shall be considered in default and Seller’s obligation is
144 terminated.
445 3. Earnest Money/Trust Money. Buyer has paid or shall pay within 5 days after the Binding Agreement Date to
146 Trinity Title (name of Holder) (“Holder”)
147 located at (address of Holder), an

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Earnest Money/Trust Money deposit of $0 by check (OR
) (“Earnest Money/Trust Money”).

A. Failure to Receive Earnest Money/Trust Money. In the event Earnest Money/Trust Money (if applicable) is not
timely received by Holder or Earnest Money/Trust Money check or other instrument is not honored, for any reason
by the bank upon which it is drawn, Holder shall promptly notify Buyer and Seller of the Buyer’s failure to deposit
the agreed upon Earnest Money/Trust Money. Buyer shall then have one (1) day to deliver Earnest Money/Trust
Money in immediately available funds to Holder. In the event Buyer does not deliver such funds, Buyer is in default
and Seller shall have the right to terminate this Agreement by delivering to Buyer or Buyer's representative written
notice via the Notification form or equivalent written notice. In the event Buyer delivers the Eamest Money/Trust
Money in immediately available funds in the form of a wire transfer or cashier’s check to Holder before Seller elects
to terminate, Seller shall be deemed to have waived Seller’s right to terminate, and the Agreement shall remain in full
force and effect.

B. Handling of Earnest Money/Trust Money upon Receipt by Holder. Earnest Money/Trust Money (if applicable) is
to be deposited promptly after the Binding Agreement Date or the agreed upon delivery date in this Earnest
Money/Trust Money section or as specified in the Special Stipulations section contained herein. Holder shall disburse
Earnest Money/Trust Money only as follows:

(a) at Closing to be applied as a credit toward Buyer’s Purchase Price;

(b) upon a written agreement signed by all parties having an interest in the funds;

(c) upon order of a court or arbitrator having jurisdiction over any dispute involving the Earnest
Money/Trust Money;

(d) upon a reasonable interpretation of the Agreement; or

(e) upon the filing of an interpleader action with payment to be made to the clerk of the court having
jurisdiction over the matter.

Holder shall be reimbursed for, and may deduct from any funds interpleaded, its costs and expenses, including reasonable
attomey’s fees. The prevailing party in the interpleader action shall be entitled to collect from the other party the costs
and expenses reimbursed to Holder. No party shall seek damages from Holder (nor shall Holder be liable for the same)
for any matter arising out of or related to the performance of Holder’s duties under this Earnest Money/Trust Money
section. Earnest Money/Trust Money shall not be disbursed prior to fourteen (14) days after deposit unless written evidence
of clearance by bank is provided.

4. Closing, Prorations, Special Assessments and Association Fees.

This

A. Closing Date. This transaction shall be closed (“Closed”) (evidenced by delivery of warranty deed and payment of
Purchase Price, the “Closing”), and this Agreement shall expire at 11:59 p.m. local time on the 31° day of
july »2023 (“Closing Date”), or on such earlier date as may be agreed to by the
parties in writing. Such expiration does not extinguish a party’s right to pursue remedies in the event of default. Any
extension of this date must be agreed to by the parties in writing via the Closing Date/Possession Date Amendment or

equivalent written agreement.
1. Possession. Possession of the Property is to be given (Select the appropriate boxes below. Unselected items

shall not be part of this Agreement):

7 _ at closing as evidenced by delivery of warranty deed and payment of Purchase Price;
OR

[0 as agreed in the attached and incorporated Temporary Occupancy Agreement;

B. Prorations. Real estate taxes, rents, dues, maintenance fees, and association fees on said Property for the calendar
year in which the sale is Closed shall be prorated as of the Closing Date. In the event of a change or reassessment of
taxes for the calendar year after Closing, the parties agree to pay their recalculated share. Real estate taxes, rents,
dues, maintenance fees, and association fees for prior years and rollback taxes, if any, shall be paid by Seller.

C. Greenbelt. If property is currently classified by the property tax assessor as “Greenbelt” (minimum of 15 acres or
otherwise qualifies), does the Buyer intend to keep the property in the Greenbelt? (Select the appropriate boxes
below. Unselected items shall not be part of this Agreement):

YJ Buyer intends to maintain the property’s Greenbelt classification and acknowledges that it is Buyer’s
responsibility to make timely and proper application to insure such status. Buyer’s failure to timely and
properly make application shall result in the assessment of rollback taxes for which Buyer shall be obligated to

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199 pay. Buyer should consult the tax assessor for the county where the property is located prior to making this

200 offer to verify that their intended use shall qualify for Greenbelt classification.

201 (] Buyer does not intend to maintain the property’s Greenbelt status and rollback taxes shall be payable by the

202 Seller at time of closing.

203 D. Special Assessments. Special Assessments approved or levied prior to the Closing Date shall be paid by Seller at or

204 prior to Closing unless otherwise agreed as follows:

205 nfa .

206 E. Association Fees. Buyer shall be responsible for all homeowner or condominium association transfer fees, related

207 administration fees (not including statement of accounts), capital expenditures/contributions incurred due to the

208 transfer of the Property and/or like expenses which are required by the association, property management company

209 and/or the bylaws, declarations or covenants for the Property (unless otherwise specifically addressed herein and/or

210 unless specifically chargeable to Seller under applicable bylaws, declarations, and/or neighborhood covenants).

211 5. Title and Conveyance.

212 A. Seller warrants that at the time of Closing, Seller shall convey or cause to be conveyed to Buyer or Buyer’s assign(s)

213 good and marketable title to said Property by general warranty deed, subject only to:

214 (1) Zoning;

215 (2) Setback requirements and general utility, sewer, and drainage easements of record on the Binding Agreement

216 Date upon which the improvements do not encroach;

217 (3) Subdivision and/or condominium declarations, covenants, restrictions, and easements of record on the

218 Binding Agreement Date; and

219 (4) Leases and other encumbrances specified in this Agreement.

220 If title examination, closing or loan survey pursuant to Tenn. Code Ann. § 62-18-126, boundary line survey, or other

221 information discloses material defects, Buyer may, at Buyer’s discretion:

222 (1) accept the Property with the defects OR

223 (2) require Seller to remedy such defects prior to the Closing Date. Buyer shall provide Seller with written notice

224 of such defects via the Notification form or equivalent written notice. If defects are not remedied prior to the

225 Closing Date, Buyer may elect to extend the Closing Date by mutual written agreement evidenced by the

226 Closing Date/Possession Amendment form or other written equivalent. If defects are not remedied by the

227 Closing Date or any mutually agreed upon extension thereof, this Agreement shall terminate, and Buyer shall

228 be entitled to a refund of Earnest Money/Trust Money.

229 Good and marketable title as used herein shall mean title which a title insurance company licensed to do business in

230 Tennessee shall insure at its regular rates, subject only to standard exceptions. The title search or abstract used for the

231 purpose of evidencing good and marketable title must be acceptable to the title insurance agent and the issuing title

232 insurance company. Seller agrees to execute such appropriate affidavits and instruments as may be required by the

233 issuing title insurance company.

234 B. Deed. Name(s) on Deed to be: Corey Lea

235 It is the Buyer’s responsibility to consult the closing agency or attorney prior to Closing as to the manner in which Buyer

236 holds title.

237 +6. Inspections and other requirements made a part of this Agreement.

238 ALL INSPECTIONS ARE TO BE MADE AT BUYER’S EXPENSE. Buyer, its inspectors and/or representatives shall

239 have the right and responsibility to enter the Property during normal business hours for the purpose of making inspections

240 and/or tests. Buyer agrees to indemnify Seller for the acts of themselves, their inspectors and/or representatives in

241 exercising their rights under this section. Buyer’s obligations to indemnify Seller shall also survive the termination of this

242 Agreement by either party, which shall remain enforceable. Buyer shall make such inspections as indicated in this section

243 and either accept the Property in its present condition by written notice to Seller or terminate the Agreement as provided

244 for in each section marked below.

245 [Select any or all of the following stipulations. Unselected items are not a part of this Agreement.]

246 (] A. Feasibility Study. Buyer shall have the right to review all aspects of the Property, including but not limited to,

247 all governmental, zoning, soil and utility service matters related thereto. In consideration of Buyer having conducted

248 Buyer’s good faith review as provided for herein, the sufficiency of such consideration being hereby acknowledged,

249 Buyer shall provide written notification to Seller and/or Selier’s Broker within days after Binding
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Agreement Date that Buyer is not satisfied with the results of such review, and this Agreement shall automatically
terminate and Broker shall promptly refund the Eamest Money/Trust Money to Buyer. If Buyer fails to provide notice,
then this contingency shall be deemed to have been waived by Buyer. Seller acknowledges and agrees that Buyer
and/or Buyer’s agents and employees may have free access during normal business hours to visit the Property for the
purpose of (1) inspection thereof and (2) conducting such soil and other tests thereon as are deemed reasonably
necessary by Buyer. Buyer hereby agrees to indemnify and hold Seller, Broker, and Broker’s Affiliated Licensees
harmless from and against any and all loss, injury, cost, or expense associated with Buyer’s inspection of and entry
upon Property.

C) B. Building Permit. This Agreement is contingent upon Buyer’s ability to acquire all required licenses and permits
from the appropriate governmental authority to make specific improvements on the Property. In consideration of
Buyer, having acted in good faith, being unable to acquire all required licenses and permits from the appropriate
governmental authority to make specific improvements to the Property, the sufficiency of such consideration hereby
being acknowledged, Buyer may terminate this agreement by providing written notification to Seller and/or Seller’s
Broker within days after the Binding Agreement Date. Upon termination, holder shall promptly refund the
Earnest Money/Trust Money to Buyer. If Buyer fails to provide said notice, then this contingency shall be deemed to
have been waived by Buyer.

1 C. Permit for Sanitary Septic Disposal System. This Agreement is contingent upon the Buyer’s ability to obtain
a permit for a sanitary septic disposal system from the respective Tennessee Ground Water Protection Office for the
county in which the Property is located (generally, located at the local Health Department) to be placed on the Property
in a location consistent with Buyer’s planned improvements. In consideration of Buyer, having acted in good faith,
being unable to meet this condition, the sufficiency of such consideration being hereby acknowledged, Buyer must
notify Seller and/or Seller’s Broker in writing within days after the Binding Agreement Date. With proper
notice, the Agreement is voidable by Buyer and Earnest Money/Trust Money refunded. If Buyer fails to provide said
notice, this contingency shall be deemed to have been waived by Buyer.

C1 D. Rezoning. This Agreement is contingent upon the Property being rezoned to
by the appropriate governmental authorities on or before . (Buyer or Seller)
shall be responsible for pursuing such rezoning, and paying all associated cost. All
rezoning applications shall be submitted to Seller for Seller’s approval prior to filing, which approval shall not be
unreasonably withheld. All parties agree to cooperate, to sign the necessary documentation and to support the rezoning
application. In consideration of Buyer having acted in good faith, Buyer may provide notification to Seller and/or
Seller’s Broker within 48 hours after the above date that the Property cannot be so zoned, the sufficiency of such
consideration being hereby acknowledged, and this Agreement shall automatically terminate. Upon termination,
holder shall promptly refund the Earnest Money/Trust Money to Buyer. If Buyer fails to provide said notice, then this
contingency shall be deemed to have been waived by Buyer.

C] E. WellTest. This Agreement is contingent upon the well water serving the Property passing testing for suitability
for drinking as performed by a testing laboratory selected by Buyer, or required by Buyer’s Lender, prior to Closing.
Buyer shall be responsible for ordering, supervising and paying for any such well water sample test. This Agreement
shall also be contingent upon said well providing an adequate quantity of water to serve Buyer’s intended purpose
for the Property. In consideration of Buyer, having conducted a well test as provided for herein, the sufficiency of
such consideration being hereby acknowledged, Buyer may provide written notification to Seller and/or Seller’s
Broker within days after the Binding Agreement Date that test results are unacc eptable, and in such event this

Agreement shall automatically terminate, and Holder shall promptly refund the Earnest Money/Trust Money to Buyer.
If Buyer fails to provide said notice, then this contingency shall be deemed to have been waived by Buyer.

(1 F. Other Inspections. See Special Stipulations for additional inspections required by Buyer.

CO G. No Inspection Contingencies. Buyer accepts the Property in its present condition. All parties acknowledge
and agree that the Property is being sold “AS IS” with any and all faults.

7, Final Inspection. Buyer and/or Buyer’s inspectors/representatives shall have the right to conduct a final inspection of
Property on the Closing Date or within day(s) prior to Closing Date only to confirm Property is in the same or better
condition as it was on the Binding Agreement Date, normal wear and tear excepted, and to determine that all
repairs/replacements have been completed. Property shall remain in such condition until the Closing Date at Seller’s
expense. Closing of this sale constitutes acceptance of Property in its condition as of the time of Closing, unless otherwise
noted in writing.

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302 8. Buyer’s Additional Due Diligence Options. If any of the matters below are of concern to Buyer, Buyer should address

303 the concem by specific contingency in the Special Stipulations section of this Agreement.
304 A. Survey and Flood Certification. Survey Work and Flood Certifications are the best means of identifying boundary
305 lines and/or encroachments and easements or flood zone classifications. Buyer may obtain a survey, closing loan
306 survey or Boundary Line Survey and Flood Zone Certifications.
307 B. Insurability. Many different issues can affect the insurability and the rates of insurance for property. These include
308 factors such as changes in the Flood Zone Certifications, changes to the earthquake zones maps, the insurability of the
309 buyer, and previous claims made on the Property. It is the right and responsibility of Buyer to determine the
310 insurability, coverage and the cost of insuring the Property. It is also the responsibility of Buyer to determine whether
311 any exclusions shall apply to the insurability of said Property.
312 C. Water Supply. The system may or may not meet state and local requirements. It is the right and responsibility of
313 Buyer to determine the compliance of the system with state and local requirements. [For additional information on
314 this subject, request the “Water Supply and Waste Disposal Notification” form.]
315 D. Waste Disposal. The system may or may not meet state and local requirements. It is the right and responsibility of
316 Buyer to determine the compliance of the system with state and local requirements. In addition, Buyer may, for a fee,
317 obtain a septic system inspection letter from the Tennessee Department of Environment and Conservation, Division
318 of Ground Water Protection. [For additional information on this subject, request the “Water Supply and Waste
319 Disposal Notification” form. ]
320 E. Title Exceptions. At Closing, the general warranty deed shall be subject to subdivision and/or condominium
321 declarations, covenants, restrictions and easements of record, which may impose obligations and may limit the use of
322 the Property by Buyer, including the property being part of a Planned Unit Development (PUD). There may also be
323 fees and assessments connected with these exceptions.
324 F. Toxic/Foreign Substances. Testing (including but not limited to a Phase 1 study) may be performed to determine the
325 presence of radon or other potentially toxic substances. Buyer may wish to inquire or have the property inspected
326 for underground tanks, tires, appliances, garbage, foreign and/or unnatural materials, asbestos, polychlorinated
327 biphenyl (PCB’s), ureaformaldehyde, methane gas, radioactive material, or methamphetamine production.
328 G. Land Issues, Buyer may be interested in learning more about the presence of any fill, mine shaft, well, diseased or
329 dead trees or private or non-dedicated roadways on the Property as well as any sliding, settling, earth movement,
330 upheaval or earth stability problems detected through inspections or evaluations previously performed on property or
331 to be performed.
332 H. Rights and Licenses. Certain Property may contain mineral, oil and timber rights which may or may not transfer with
333 the Property. It is possible licenses or usage permits were granted for crops, mineral, water, grazing, timber, hunting
334 or fishing, including a Crop Rotation Program. Buyers should consult their closing agency for questions regarding any
335 leases which may be in the chain of title.
336 9. Disclaimer. It is understood and agreed that the real estate firms and real estate licensee(s) representing or assisting Seller
337 and/or Buyer and their brokers (collectively referred to as “Brokers”) are not parties to this Agreement and do not have or
338 assume liability for the performance or nonperformance of Seller or Buyer. Buyer and Seller agree that Brokers shall not
339 be responsible for any of the following, including but not limited to, those matters which could have been revealed through
340 a survey, flood certification, title search or inspection of the Property; the insurability of the Property or cost to insure the
341 Property; for the condition of the Property, any portion thereof, or any item therein; for building products and construction
342 techniques; for any geological issues present on the Property; for any issues arising out of the failure to physically inspect
343 the Property prior to entering into this Agreement and/or Closing; for the necessity or cost of any repairs to the Property,
344 for hazardous or toxic materials; for the tax or legal consequences of this transaction; for the availability, capability, and/or
345 cost of utility, sewer, septic, or community amenities; for any proposed or pending condemnation actions involving the
346 Property; for acreage or square footage; for applicable boundaries of school districts or other school information; for the
347 appraised or future value of the Property; for any condition(s) existing off the Property which may affect the Property; for
348 the terms, conditions, and availability of financing; and for the uses and zoning of the Property whether permitted or
349 proposed. Buyer and Seller acknowledge that Brokers are not experts with respect to the above matters and that they have
350 not relied upon any advice, representations or statements of Brokers (including their firms and affiliated licensees) and
351 waive and shall not assert any claims against Brokers (including their firms and affiliated licensees) involving same. Buyer
352 and Seller understand that it has been strongly recommended that if any of these or any other matters concerning the
353 Property are of concem to them, that they secure the services of appropriately credentialed experts and professionals of
354 Buyer’s or Seller’s choice for the independent expert advice and counsel relative thereto. Buyer and Seller acknowledge
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that photographs, marketing materials, and digital media used in the marketing of the property may continue to remain in
publication after Closing. Buyer and Seller agree that Brokers shall not be liable for any uses of photographs, marketing
materials or digital media which the Broker is not in control.

Brokerage. As specified by separate agreement, Seller agrees to pay Listing Broker at Closing the agreed upon
compensation. The Listing Broker shall direct the closing agency to pay the Selling Broker, from the compensation
received, an amount in accordance with the terms and provisions specified by separate agreement. The parties agree and
acknowledge that the Brokers involved in this transaction may receive compensation from more than one party. All parties
to this Agreement agree and acknowledge that any real estate firm involved in this transaction shall be deemed a third
party beneficiary only for the purposes of enforcing their commission rights, and as such shall have the right to maintain
an action on this Agreement for any and all compensations due and any reasonable attorney’s fees and court costs.
Default. Should Buyer default hereunder, the Eamest Money/Trust Money shall be forfeited as damages to Seller and
shall be applied as a credit against Seller’s damages. Seller may elect to sue, in contract or tort, for additional damages or
specific performance of the Agreement, or both. Should Seller default, Buyer’s Earnest Money/Trust Money shall be
refunded to Buyer. In addition, Buyer may elect to sue, in contract or tort, for damages or specific performance of this
Agreement, or both. In the event that any party hereto shall file suit for breach or enforcement of this Agreement (including
suits filed after Closing which are based on or related to the Agreement), the prevailing party shall be entitled to recover
all costs of such enforcement, including reasonable attorney’s fees. In the event that any party exercises its right to
terminate due to the default of the other pursuant to the terms of this Agreement, the terminating party retains the right to
pursue any and all legal rights and remedies against the defaulting party following termination. The parties hereby agree
that all remedies are fair and equitable and neither party shall assert the lack of mutuality of remedies, rights and/or
obligations as a defense in the event of a dispute.

Other Provisions.

A. Binding Effect, Entire Agreement, Modification, Assignment, and Binding Agreement Date. This Agreement
shall be for the benefit of, and be binding upon, the parties hereto, their heirs, successors, legal representatives and
assigns. This Agreement constitutes the sole and entire agreement between the parties hereto and no modification of
this Agreement shall be binding unless signed by all parties or assigns to this Agreement. No representation, promise,
or inducement not included in this Agreement shall be binding upon any party hereto. It is hereby agreed by both
Buyer and Seller that any real estate agent working with or representing either party shall not have the authority to
bind the Buyer, Seller, or any assignee to any contractual agreement unless specifically authorized in writing within
this Agreement. Any assignee shall fulfill all the terms and conditions of this Agreement. The parties hereby authorize
either licensee to insert the time and date of receipt of the notice of acceptance of the final offer. The foregoing time
and date shall be referred to for convenience as the Binding Agreement Date for purposes of establishing performance
deadlines.

B. Survival Clause. Any provision contained herein, which by its nature and effect is required to be performed after
Closing shall survive the Closing and delivery of the deed, and shall remain binding upon the parties to this Agreement
and shall be fully enforceable thereafter.

C. Governing Law and Venue. This Agreement is intended as a contract for the purchase and sale of real property and

shall be interpreted in accordance with the laws and in the courts of the State of Tennessee.

Time of Essence. Time is of the essence in this Agreement.

Terminology. As the context may require in this Agreement: (1) the singular shall mean the plural and vice versa;

(2) all pronouns shall mean and include the person, entity, firm or corporation to which they relate; (3) the masculine

shall mean the feminine and vice versa; and (4) the term day(s) used throughout this Agreement shall be deemed to

be calendar day(s) ending at 11:59 p.m. local time unless otherwise specified in this Agreement. Local time shall be
determined by the location of Property. In the event a performance deadline, other than the Closing Date (as defined
herein), Date of Possession (as defined herein), and Offer Expiration Date (as defined in Time Limit of Offer Section),
occurs on a Saturday, Sunday or legal holiday, the performance deadline shall extend to the next following business
day. Holidays as used herein are those days deemed federal holidays pursuant to 5 U.S.C. § 6103. In calculating any
time period under this Agreement, the commencement day shall be the day following the initial date (e.g. Binding
Agreement Date).

F. Responsibility to Cooperate. Buyer and Seller agree to timely take such actions and produce, execute, and/or deliver
such information and documentation as is reasonably necessary to carry out the responsibilities and obligations of this
Agreement. Except as to matters which are occasioned by clerical errors or omissions or erroneous information, the
approval of the closing documents by the parties shall constitute their approval of any differences between this
Agreement and the Closing. Buyer and Seller agree that if requested after Closing, they shall correct any documents

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409 and pay any amounts due where such corrections or payments are appropriate by reason of mistake, clerical errors or
410 omissions, or the result of erroneous information.
411 G. Notices. Except as otherwise provided herein, all notices and demands required or permitted hereunder shall be in
412 writing and delivered either (1) in person; (2) by a prepaid overnight delivery service; (3) by facsimile transmission
413 (FAX); (4) by the United States Postal Service, postage prepaid, registered or certified, return receipt requested; or (5)
414 Email. NOTICE shall be deemed to have been given as of the date and time it is actually received. Receipt of notice
415 by the real estate licensee or the Broker assisting a party as a client or customer shall be deemed to be notice to that
416 party for all purposes under this Agreement as may be amended, unless otherwise provided in writing.
417 H. Risk of Loss. The risk of hazard or casualty loss or damage to the Property shall be borne by Seller until transfer of
418 title. If casualty loss prior to Closing exceeds 10% of the Purchase Price, Seller or Buyer may elect to terminate this
419 Agreement with a refund of Eamest Money/Trust Money to Buyer.
420 I. Equal Housing. This Property is being sold without regard to race, creed, color, sex, religion, handicap, familial
421 status, or national origin.
422 J. Severability. If any portion or provision of this Agreement is held or adjudicated to be invalid or unenforceable for
423 any reason, each such portion or provision shall be severed from the remaining portions or provisions of this
424 Agreement, and the remaining portions or provisions shall be unaffected and remain in full force and effect. In the
425 event that the contract fails due to the severed provisions, then the offending language shall be amended to be in
426 conformity with state and federal law.
427 K. Alternative Dispute Resolution. In the event the parties elect to utilize Alternative Dispute Resolution,
428 incorporate “Resolution of Disputes by Mediation Addendum/Amendment” (RF629).
429 L. Contract Construction. This Agreement or any uncertainty or ambiguity herein shail not be construed against any
430 party but shall be construed as if all parties to this Agreement jointly prepared this Agreement.
431 M. Section Headings. The Section Headings as used herein are for reference only and shall not be deemed to vary the
432 content of this Agreement or limit the scope of any Section.
433. 13. Method of Execution. The parties agree that signatures and initials transmitted by facsimile, other photocopy transmittal,
434 or by transmittal of digital signature as defined by the applicable State or Federal law shall be acceptable and may be
435 treated as originals and that the final Lot/Land Purchase and Sale Agreement containing all signatures and initials may be
436 executed partially by original signature and partially on facsimile, other photocopy documents, or by digital signature as
437 defined by the applicable State or Federal law.
438 14, Exhibits and Addenda. All exhibits and/or addenda attached hereto, listed below, or referenced herein are made a part
439 of this Agreement:n/a
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443 15. Special Stipulations. The following Special Stipulations, if conflicting with any preceding section, shall control:
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456 16. Time Limit of Offer. This Offer may be withdrawn at any time before acceptance with Notice. Offer terminates if not
457 countered or accepted by o’clock Ja.m./O] p.m. on the day of ,

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LEGAL DOCUMENTS: This is an important legal document creating valuable rights and obligations. If you have any
questions about it, you should review it with your attorney. Neither the Broker nor any Agent or Facilitator is
authorized or qualified to give you any advice about the advisability or legal effect of its provisions.

NOTE: Any provisions of this Agreement which are preceded by a box “co” must be marked to be a part of this
Agreement. By affixing your signature below, you also acknowledge that you have reviewed each page and have
received a copy of this Agreement.

WIRE FRAUD WARNING: Never trust wiring instructions sent via email. Cyber criminals are hacking email accounts
and sending emails with fake wiring instructions. These emails are convincing and sophisticated. Always independently
confirm wiring instructions in person or via a telephone call to a trusted and verified phone number. Never wire money
without double-checking that the wiring instructions are correct. NEVER ACCEPT WIRING INSTRUCTIONS FROM
YOUR AGENT OR BROKER. Buyer Initials [Buyer Initials

Buyer hereby makes this offer.

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UYER BUYER

04/03/2023 at o’clockDam/ (J pm 04/03/2023 at o’clockOam/ pm
Offer Date Offer Date

Seller hereby:
() ACCEPTS -— accepts this offer.
[] COUNTERS — accepts this offer subject to the attached Counter Offer(s).
() REJECTS — rejects this offer and makes no counter offer.

SELLER ELLER

at o’clockOam/ Cpm at o’clock am/ pm
Date Date

Acknowledgement of Receipt. hereby acknowledges receipt of the final accepted offer
on at o’clock Clam/ CI pm, and this shall be referred to as the Binding Agreement Date for
purposes of establishing performance deadlines as set forth in the Agreement.

For Information Purposes Only:

Listing Company: Tim Thompson Premier REALTORS Selling Company: Team George Weeks Real Estate, LLC
Listing Firm Address: 148 5th Ave. N. Selling Firm Address: 401 W Main St Murfreesboro, TN 37130
Firm License No.: 261694 Firm License No.: 264307

Firm Telephone No.: (615) 790-8884 Firm Telephone No.: 615-948-4098

Listing Licensee: Tim Thompson Selling Licensee: Jessica Haynes

Licensee License Number: 261694 Licensee License Number: 325313

Licensee Email: timtrealtor@gmail.com Licensee Email: BuywithJessicaHaynes@gmail.com

Licensee Cellphone No.: (615) 207-3295( Licensee Cellphone No.:615-984-9644

Home Owner’s / Condominium Association (“HOA/COA”) / Property Management Company:

None
Phone: Email:

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